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UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT

Everett McKinley Dirksen
United States Courthouse
Room 2722 - 219 S. Dearborn Street
Chicago, Illinois 60604

Office of the Clerk
Phone: (312) 435-5850
www.ca7.uscourts.gov

ORDER
September 21, 2023
By the Court:
UNITED STATES OF AMERICA,
Plaintiff - Appellee
No. 23-1010 Vv.

DENY MITROVICH,
Defendant - Appellant

Originating Case Information:

District Court No: 1:18-cr-00789-1
Northern District of Illinois, Eastern Division
District Judge Gary Feinerman

Upon consideration of the MOTION FOR LEAVE TO WITHDRAW AS COUNSEL, filed on

September 20, 2023, by attorney Matthew P. Kralovec,
IT IS ORDERED that the motion is GRANTED and attorney Matthew P. Kralovec may

withdraw from further representation of the appellant in this matter. Attorney Vadim A.
Glozman shall continue to serve as counsel of record for the appellant Deny Mitrovich.

form name: c7_Order_BTC (form ID: 178)
